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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                                   CRIMINAL ACTION

VERSUS                                                                                  No. 10-154

GREGORY MCRAE                                                                         SECTION I


                                     ORDER AND REASONS

       Before the Court is the government’s objection to the fifth addendum to the pre-sentence

investigation report (“PSR”) prepared by the U.S. probation office. The government originally

filed this objection to the fourth addendum, but then renewed its protest after the probation office

rejected the government’s objection in the fifth addendum.          The objection centers on the

appropriate base offense level for defendant, Gregory McRae’s (“McRae”), conviction on count 4

of the second superseding indictment for the unreasonable seizure of William Tanner’s 2001

Chevrolet Malibu in violation of 18 U.S.C. § 242. The probation office and McRae argue that the

appropriate guideline is U.S.S.G. § 2H1.1(a)(3). The government contends that the appropriate

guideline is U.S.S.G. § 2H1.1(a)(1). For the following reasons, the Court holds that the probation

office and McRae are correct.

       The Court assumes familiarity with the factual and procedural background of this case. As

the government’s objection presents only an issue of law, however, little or no background is

necessary to the Court’s analysis.
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                                        LAW AND ANALYSIS

          I.    The basis for the government’s objection

        Both parties and the probation office agree that U.S.S.G. § 2H1.1 is the applicable guideline

provision with respect to Count 4. They dispute the applicable subsection. U.S.S.G. § 2H1.1

provides in its entirety:

                (a) Base Offense Level (Apply the Greatest):

                    (1) the offense level from the offense guideline applicable to any
                        underlying offense;

                    (2) 12, if the offense involved two or more participants;

                    (3) 10, if the offense involved (A) the use or threat of force against a
                        person; or (B) property damage or the threat of property damage; or

                    (4) 6, otherwise.

                (b) Specific Offense Characteristics

                    (1) If (A) the defendant was a public official at the time of the offense;
                        or (B) the offense was committed under color of law, increase by 6
                        levels.

        With respect to subsection (a)(1), the application notes explain that the “‘offense guideline

applicable to any underlying offense’ means the offense guideline applicable to any conduct

established by the offense of conviction that constitutes an offense under federal, state, or local

law . . . .” Case law is clear that the defendant need not have been convicted of that underlying

offense for its guideline to be used. United States v. Causey, 185 F.3d 407 (5th Cir. 1999) (first

degree murder was offense underlying civil rights violations).

        The parties do not dispute that the only potentially applicable subsections in U.S.S.G. §

2H1.1(a) are (a)(1) and (a)(3). The parties also do not dispute, with respect to subsection (a)(1),

that the only potentially applicable “underlying offense” is arson, the applicable guideline being



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U.S.S.G. § 2K1.4. 1 In order for the arson guideline to provide the greatest base offense level—

and hence to be applicable pursuant to U.S.S.G. § 2H1.1—the arson guideline must provide a base

offense level greater than 10, which is the base offense level provided for by subsection (a)(3).

       U.S.S.G. § 2K1.4(a) provides, in its entirety:

       (a) Base Offense Level (Apply the Greatest):

       (1) 24, if the offense (A) created a substantial risk of death or serious bodily injury
           to any person other than a participant in the offense, and that risk was created
           knowingly; or (B) involved the destruction or attempted destruction of a
           dwelling, an airport, an aircraft, a mass transportation facility, a mass
           transportation vehicle, a maritime facility, a vessel, or a vessel’s cargo, a public
           transportation system, a state or government facility, an infrastructure facility,
           or a place of public use;

       (2) 20, if the offense (A) created a substantial risk of death or serious bodily injury
           to any person other than a participant in the offense; (B) involved the
           destruction or attempted destruction of a structure other than (i) a dwelling, or
           (ii) an airport, an aircraft, a mass transportation facility, a mass transportation
           vehicle, a maritime facility, a vessel, or a vessel’s cargo, a public transportation
           system, a state or government facility, an infrastructure facility, or a place of
           public use; or (C) endangered (i) a dwelling, (ii) a structure other than a
           dwelling, or (iii) an airport, an aircraft, a mass transportation facility, a mass
           transportation vehicle, a maritime facility, a vessel, or a vessel’s cargo, a public
           transportation system, a state or government facility, an infrastructure facility,
           or a place of public use;


       (3) 16, if the offense involved the destruction of or tampering with aids to maritime
           navigation; or

       (4) 2 plus the offense level from § 2B1.1 (Theft, Property Destruction, and Fraud).



1
  The government’s objection states that “[t]he probation officer disagrees that the underlying
offense is arson, and suggests that the underlying offense should be use of fire to commit a felony”
as charged in count 7. The government mischaracterizes the probation office’s position. As the
probation office makes clear in the fifth addendum to the PSR, its position is not that arson is the
incorrect underlying offense, but rather that the only subsection of the arson guideline that is
applicable under “the facts present in the instant offense” is subsection (a)(4), which calculates an
offense level based on the lost value of the object burned. Because, under these facts, subsection
(a)(4) results in a lower offense level calculation than subsection (a)(3) of U.S.S.G. § 2H1.1, the
probation office concludes that subsection (a)(3) must apply.

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       In order for U.S.S.G. § 2K1.4(a) to provide a base offense level greater than 10—the base

offense level provided for by U.S.S.G. § 2H1.1(a)(3)—either subsection (a)(1) or subsection (a)(2)

must apply. 2 No party argues that subsection (a)(1) applies, and that is clearly correct. The issue

before the Court is whether subsection (a)(2) applies.

       Because the target of McRae’s arson, a personal vehicle, is not explicitly listed in

subsection (a)(2), the applicability of that section turns on whether a personal vehicle can be

considered “a structure other than” all of the items specifically listed in subsection (a)(2). The

probation office and McRae argue that a personal vehicle should not be considered “a structure,”

and subsection (a)(2) is, therefore, not applicable. The government disagrees.

         II.   The reasons why the government’s objection is denied

       Both parties and the probation office represent that they have found no case law addressing

this issue. Neither has the Court’s research uncovered any relevant authority. In the absence of

binding or persuasive authority, the parties turn first to the language of the guideline itself in order

to resolve its meaning. The U.S. Fifth Circuit Court of Appeals has explained that “[w]e apply

ordinary rules of statutory construction to the Sentencing Guidelines, and if the language of the

Guidelines is unambiguous the inquiry ends with the plain meaning of that language.” United

States v. Rabanal, 508 F.3d 741, 743 (5th Cir. 2007). “The plain meaning controls unless it leads

to an absurd result.” Id.




2
  Subsection (a)(3) would also provide a base offense level greater than 10, but no party argues
that it is applicable under these facts. Subsection (a)(4), the catch-all provision for the arson
guideline, would be applicable to McRae, however that subsection would not yield a base offense
level greater than the 10 provided by U.S.S.G. § 2H1.1(a)(3). Because U.S.S.G. § 2H1.1(a) directs
the Court to “apply the greatest” applicable offense level, subsection (a)(4) of the arson guideline
should not be used.

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       The Court finds ambiguity with respect to whether a “vehicle” is a type of “structure,” as

that word is commonly used. Black’s Law Dictionary, cited by the government in its objection,

defines “structure” as “[a]ny construction, production, or piece of work artificially built up or

composed of parts purposefully joined together <a building is a structure>.” (10th Ed. 2014).

Merriam-Webster Dictionary, cited by McRae, defines “structure” as “something (such as a house,

tower, bridge, etc.) that is built by putting parts together and that usually stands on its own,” or

“something (as a building) that is constructed.”         Merriam—Webster’s Online Dictionary,

http://www.merriam-webster.com/dictionary/structure (last visited February 2, 2016). None of

these definitions explicitly include or exclude a vehicle, although the Court notes that McRae is

correct in observing that the examples used are all immovables.

       The Fifth Circuit has explained that “[i]n determining the meaning of [a] statute, [courts]

look not only to the particular statutory language, but to the design of the statute as a whole and to

its object and policy.” CleanCOALition v. TXU Power, 536 F.3d 469, 473 (5th Cir. 2008). The

design of U.S.S.G. § 2K1.4(a), and its history, demonstrate that the sentencing commission did not

intend for a personal vehicle to be considered “a structure other than” the items enumerated in

subsection (a)(2).

       In 1990, U.S.S.G. § 2K1.4(a)(1) and (a)(2) read as follows:

       (a) Base Offense Level (Apply the Greatest):

       (1) 24, if the offense (A) created a substantial risk of death or serious bodily injury
           to any person other than a participant in the offense, and that risk was created
           knowingly; or (B) involved the destruction or attempted destruction of a
           dwelling;

       (2) 20, if the offense (A) created a substantial risk of death or serious bodily injury
           to any person other than a participant in the offense; (B) involved the
           destruction or attempted destruction of a structure other than a dwelling; or (C)
           endangered a dwelling, or a structure other than a dwelling;



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       Fed. Sent. L. & Prac. § 2K1.4.

       The offenses in subsection (a)(2) were simply defined by what they were not: offenses not

meeting the requirements of subsection (a)(1). As McRae points out, courts during this period

interpreted “a structure other than a dwelling” to refer to buildings that were not “dwellings.” See

United States v. Anderson, 235 F.3d 1339 (5th Cir. 2000) (recognizing that a nightclub is “a

structure other than a dwelling); United States v. Pazos, 24 F.3d 660, 666 (5th Cir. 1994)(affirming

a sentencing determination because a restaurant is “a structure other than a dwelling”); United

States v. Beardslee, 197 F.3d 378, 387 (9th Cir. 1999) (classifying a warehouse as “a structure

other than a dwelling”); See also United States v. Foutris, 966 F.2d 1158, 1164 (7th Cir. 1992)

(Easterbrook, J., concurring) (asking, in a discussion of the different dangers posed by arson of a

dwelling versus arson of “a structure other than a dwelling” under U.S.S.G. § 2K1.4, “how

dangerous is arson of a building known to be unoccupied” compared to a building known to be

occupied?).

       As McRae notes in his brief, in 2001 Congress passed the USA PATRIOT Act (“PATRIOT

Act”), Pub. L. No. 107-56, 115 Stat. 374 (Oct. 26, 2001), as a result of the attacks on the World

Trade Center. That Act, now codified at 18 U.S.C. § 1992, criminalized terrorist attacks against

railroad carriers and mass transportation systems, including mass transportation vehicles. See Pub.

L. No. 107-56, Title VIII, § 801. To conform to the PATRIOT Act, the sentencing commission

amended U.S.S.G. § 2K1.4(a)(1) to include airports, aircrafts, mass transportation facilities, mass

transportation vehicles, and ferries. See App. C. Vol. II, Amend. 637 (Nov. 2002), Reason for

Amendment. Subsection (a)(2) was similarly amended to exclude the specific categories listed in




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subsection (a)(1). Subsection (a)(2) hence applied only to “a structure other than” the categories

of items added to subsection (a)(1). 3

           The described amendment process makes clear that even though U.S.S.G. § 2K1.4(a)(2)

uses the word “structure,” it is not meant to include all objects which might possibly fall under the

definition of that term. Rather, the use of the word originates with an earlier version of § 2K1.4

which singled out only two potential objects of the arson: a “dwelling” or “a structure other than”

a dwelling. The case law interpreting this earlier version of § 2K1.4 supports the view that “a

structure other than a dwelling” referred to categories of buildings other than dwellings.

           When subsection (a)(1) was amended to its present form to conform with the PATRIOT

Act, the sentencing commission retained the phrase “a structure other than” in subsection (a)(2)

and appended “an airport, an aircraft, a mass transportation facility,” etc. after “a dwelling.” There

is no reason to believe that such additions broadened the scope of the word “structure.” And while

the meaning of “structure” appears broader when that word is juxtaposed with an airport, an

aircraft, a mass transportation vehicle, and a vessel, the Court cannot ignore the fact that “structure”

originally appeared opposite only the word “dwelling.” Viewed in that context, it is unlikely that

the guidelines intend for a personal vehicle to be a “structure” under subsection (a)(2). Indeed, as

McRae argues in his brief, the government’s reading of the guideline would lead to anomalous

results.




3
  In 2003, following a PATRIOT Act amendment, the guideline was broadened again to include
specific references to offenses involving a public transportation system, a state or government
facility, an infrastructure facility, or place of public use. See App. C. Vol. II, Amend. 655 (Nov.
2003), Reason for Amendment. In 2011, “ferries” were deleted and “a maritime facility, a vessel
or a vessel’s cargo” were also added. See App. C., Vol. III, Amendments 699 and 700 (Nov.
2012).

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       For these reasons, it is clear that the 2001 Chevrolet Malibu unlawfully burned by McRae

is not a “structure” within the meaning of U.S.S.G. § 2K1.4(a)(2). Because that is the case,

subsection (a)(3) of U.S.S.G. § 2H1.1 provides the greatest base offense level applicable to

McRae. 4

                                       CONCLUSION

       For the reasons offered above, the government’s objection to the fifth addendum to the

PSR is DENIED.



       New Orleans, Louisiana, February 4, 2016.



                                                _______________________________________
                                                          LANCE M. AFRICK
                                                   UNITED STATES DISTRICT JUDGE




4
 The base offense level provided by U.S.S.G. § 2H1.1(a)(3) is 10. Because McRae’s offense was
performed under color of law, however, a six-level increase is applicable pursuant to U.S.S.G. §
2H1.1(b)(1)(B). As there are no other necessary adjustments, the probation office concluded that
McRae’s total offense level is a 16. This Court agrees with that assessment.

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